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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                            CRIMINAL FILE NO.
           v.                               1:08-CR-363-19-TWT
 JUAN G. VIRAMONTES
 also known as
 Maldito,
   Defendant.


                                       ORDER


         This is a criminal action. The Defendant was charged with conspiracy to

commit money laundering. The evidence at trial showed that he drove a truck for a

drug trafficking organization that transported large quantities of cash from the United

States to Mexico. He was convicted and sentenced to 20 years in prison. It is before

the Court on the Report and Recommendation [Doc. 745] of the Magistrate Judge

recommending denying the pro se Defendant’s Motion to Vacate Sentence [Doc.

705]. The Defendant’s claims of ineffective assistance of counsel are totally without

merit.     The Court approves and adopts the Report and Recommendation as the

judgment of the Court. The Defendant’s Motion to Vacate Sentence [Doc. 705] is

DENIED. No Certificate of Appealability will be issued.
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         SO ORDERED, this 17 day of April, 2013.


                                             /s/Thomas W. Thrash
                                             THOMAS W. THRASH, JR.
                                             United States District Judge




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